EXHIBIT 20
Trump Administration Freezes $1 Billion for
Cornell and $790 Million for Northwestern,
Officials Say
The funding pause amid civil rights investigations into both universities sharply
escalates the Trump administration’s campaign against elite colleges.



By Michael C. Bender and Sheryl Gay Stolberg
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The Trump administration has frozen more than $1 billion in funding for Cornell
and $790 million for Northwestern amid civil rights investigations into both
schools, two U.S. officials said.

The funding pause involves mostly grants from and contracts with the
Departments of Agriculture, Defense, Education and Health and Human Services,
according to the officials, who spoke on the condition of anonymity to discuss the
unannounced decision.

The moves are the latest and largest in a rapidly escalating campaign against elite
American universities that has resulted in billions in federal funds being
suspended or put under review in just over a month. Other schools that have had
funds threatened include Brown, Columbia, Harvard, the University of
Pennsylvania and Princeton.

Cornell and Northwestern are both facing investigations into allegations of
antisemitism and into accusations of racial discrimination stemming from their
efforts to promote diversity.
Cornell officials said in a statement that they had received more than 75 stop-work
orders from the Defense Department on Tuesday, but that they had no information
to confirm that more than $1 billion in funding had been suspended. The affected
grants, they said, supported research that they described as “profoundly
significant to American defense, cybersecurity and health.”

“We are actively seeking information from federal officials to learn more about the
basis for these decisions,” said the joint statement from Michael Kotlikoff, the
university president; Kavita Bala, the provost; and Robert Harrington, provost for
medical affairs.

Jon Yates, a spokesman for Northwestern, said that the university had not been
notified by the federal government that funding had been frozen.

Northwestern, a Big Ten university, is the first non-Ivy League school to have
funding from the Trump administration targeted under investigations of alleged
discrimination. The university issued a “progress report” last week that
highlighted its efforts to protect Jewish students, including mandatory
antisemitism training for all students, faculty and staff.

“Federal funds that Northwestern receives drive innovative and lifesaving
research, like the recent development by Northwestern researchers of the world’s
smallest pacemaker, and research fueling the fight against Alzheimer’s disease,”
Mr. Yates said. “This type of research is now at jeopardy.”

Mr. Yates added that Northwestern had “fully cooperated” with federal and
congressional investigations.

Linda McMahon, the education secretary, has been explicit about the
administration’s focus on elite universities, which Mr. Trump has criticized as
bastions of left-wing thought. She has said that taxpayer support is a “privilege”
that can be withdrawn if universities do not adhere to civil rights law.

Like other universities, Cornell and Northwestern were the site of clashes over the
war in Gaza.
Cornell and Northwestern were among 60 universities that the Trump
administration warned last month of potential enforcement actions over
investigations into allegations of antisemitism. Each school also has investigations
pending into accusations of racial discrimination.

Last month, the Republican-controlled House Education Committee chided
Northwestern over legal clinics at its law school that had represented organizers of
an anti-Israel protest.

University officials have said the legal clinics were providing training for students
and were not representing the views of the school. In a letter to the school,
Representative Tim Walberg, the chairman of the committee, and Representative
Burgess Owens, the chairman of the panel’s subcommittee on higher education,
described the training as “illegal, antisemitic conduct.”

Cornell also recently defended itself against claims that it was not doing enough to
stop antisemitism. In a New York Times opinion essay, Dr. Kotlikoff, the president
of Cornell, described the nation’s universities as institutions built to uphold and
advance democratic norms even in the face of escalating political and legal risks.

“A messy event that turns into viral videos causes understandable concern to
trustees and alumni, and adds more fuel to already burning fires,” Dr. Kotlikoff
wrote last week. “But if we are to preserve our value and our meaning, we cannot
let our caution overtake our purpose. Our colleges and universities are cradles of
democracy and bulwarks against autocracy.”
Vimal Patel contributed reporting.

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